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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

 RENATA SINGLETON,
 LAZONIA BAHAM,
 TIFFANY LACROIX,                                     Civil Action No. 17-10721

        Plaintiffs,                                   Section H
                                                      Judge Jane Triche Milazzo
 v.
                                                      Division 1
 LEON CANNIZZARO, in his official                     Magistrate Judge Janis van Meerveld
 capacity as District Attorney of Orleans
 Parish; GRAYMOND MARTIN and LAURA
 RODRIGUE; in their individual capacities,

        Defendants.


      MEMORANDUM IN OPPOSITION TO DEFENDANT LAURA RODRIGUE’S
       MOTION FOR SUMMARY JUDGMENT ON GROUNDS OF IMMUNITY

       Only one thing has changed since the Fifth Circuit affirmed this Court’s denial of immunity

for prosecutors’ use of fake subpoenas: the evidence has borne out the allegations in the complaint,

on which the Fifth Circuit relied for its conclusions. Indeed, Defendant Rodrigue’s own testimony

makes plain that immunity does not apply. She has now confirmed under oath that she sent a fake

subpoena demanding an out-of-court interview with Plaintiff LaCroix, and that she did so for an

investigative purpose: to find out what Ms. LaCroix knew.

       Nevertheless, Defendants now ask this Court to grant summary judgment on the absolute

immunity question. Defendants offer no new evidence in support of their motion; the facts they

address were all alleged in Plaintiffs’ complaint and considered by the Fifth Circuit when it found

immunity inapplicable. And they ignore the most relevant evidence in the record: Defendant

Rodrigue’s testimony, which squarely positions her actions within the Fifth Circuit’s basis for

denying immunity here. Compare Singleton v. Cannizzaro, 956 F.3d 773, 782–83 (5th Cir. 2020)

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(affirming denial of immunity because “Defendants allegedly used the subpoenas to gather

information from crime victims and witnesses outside of court”), with Ex. B to Decl. of S. Brooks

(Rodrigue Dep.) (Dkt. No. 326-5) (hereby incorporated by reference) at 70:19–71:16 (testifying

that “[the prosecution team] did not know whether [Plaintiff] LaCroix had any information relevant

to the case,” and that she sent her the fake subpoena “just to see what the information was”).

          It is Defendants’ burden to show that immunity applies.1 Here, the evidence shows the

opposite. To the extent Defendants ask this Court to read the evidence in their favor, this is contrary

to the summary judgment standard. Any factual disputes about the nature of Defendant Rodrigue’s

conduct are the province of the jury.2

          Defendants also cite no new law that would alter the Fifth Circuit’s conclusions. Instead,

they attempt to rewrite binding precedent, ignore much of the Fifth Circuit’s opinion, and re-urge

arguments that have already failed, both in the Fifth Circuit and in this Court.

          Because it is contrary to both the record and the law, Defendants’ motion must fail.

                                   FACTUAL BACKGROUND

          In November 2016, Defendant Laura Rodrigue, a prosecutor at the Orleans Parish District

Attorney’s Office, sent a fake subpoena to Plaintiff Tiffany LaCroix. See St. of Uncontested Facts

in Support of Mot. for Summ. J. on Pl.’s Claims Against L. Rodrigue (“Pl. SUF”) (Dkt. No. 326-

2) Nos. 4, 6.3 The “subpoena” demanded that Ms. LaCroix meet with Defendant Rodrigue at her


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    Singleton, 956 F.3d at 779.

2
 Given the evidence, Plaintiffs submit that the facts are undisputed in Plaintiffs’ favor. Indeed,
LaCroix has sought summary judgment on this same issue. See Pls.’ Mot. for Summ. J. (Dkt. No.
326-1) at 15–16.
3
 To avoid repetitive briefing, Plaintiff incorporates by reference her prior statements of undisputed
facts, including Dkt. Nos. 326-2, Dkt. No. 333-8, and Dkt. No. 369-1. Plaintiff also incorporates
by reference her responses to Defendants’ first statement of facts, Dkt. No. 333-7.
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office, outside of court, in connection with the State’s prosecution of Cardell Hayes for the murder

of Will Smith. Id. Nos. 3, 4. Before she sent the subpoena, Defendant Rodrigue had never spoken

to Plaintiff LaCroix. See Pls.’ Resp. to St. of Uncontested Facts in Supp. of Mot. for Summ. J. on

Pl.’s Claims Against Individual Defs. (“Pl. First RSUF”) (Dkt. No. 333-7) No. 6; see also Ex. 6 to

Mot. for Summ. J. on T. LaCroix’s Claims Against Individual Defs. (Rodrigue Dep.) (Dkt. No.

327-8) at 81:6–13 (hereby incorporated by reference).

       When asked in her deposition why she had sent the fake subpoena, Defendant Rodrigue

was unequivocal: she wanted information. Ex. 1 (Pl.’s Resp. to Def. L. Rodrigue’s St. of

Uncontested Facts) (“Pl. Second RSUF”) Resp. to No. 10. Shortly before sending the fake

subpoena, Defendant Rodrigue learned from a news article that the defendant’s “first phone call .

. . on the scene of the crime after he shot the victim” was to Plaintiff LaCroix. See Ex. B to Decl.

of S. Brooks (Rodrigue Dep.) (Dkt. No. 326-5) at 70:19–71:16. As Defendant Rodrigue testified,

she did not know what Plaintiff LaCroix knew—or whether it mattered to the prosecution’s case.

Id. at 71:8-9 (“[A]t that time we did not know whether [Plaintiff LaCroix] had information relevant

to the case.”). But she sent a fake subpoena because she wanted to find out. See id. at 71:12-14

(testifying that the reason she sent a fake subpoena to Plaintiff LaCroix was “just to see what the

information was”); Ex. 1 (Pl. Second RSUF) Resp. to Nos. 7, 10.

       Plaintiff LaCroix hired an attorney, who moved to quash the fake subpoena; in response,

Defendant Rodrigue withdrew it. Pl. SUF (Dkt. No. 326-2) No. 26; Pl. First RSUF (Dkt. No. 333-

7) Nos. 19, 20. At that point, she concluded that she would not be able to learn what information

Plaintiff LaCroix possessed unless she was called to testify. Ex. B to Decl. of S. Brooks (Rodrigue

Dep.) (Dkt. No. 326-5) at 80:17-20 (“We would just, I guess, find out at the moment she testified

what information she had if she became a witness.”).

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        The State did not call Plaintiff LaCroix to testify at trial or sentencing, and there is no

evidence it considered doing so. Ex. 1 (Pl. Second RSUF) Resp. to Nos. 8–10. However, the

defense did call Plaintiff LaCroix at sentencing. When asked about the phone call immediately

after the shooting, Plaintiff LaCroix testified, “[H]e didn’t mean to [kill the victim]. . . . [H]e said,

‘I shot somebody.’ I said, ‘What?’ He said, ‘I don’t know. They were attacking me. I didn’t know

what to—they were attacking me. They were attacking me.’” Ex. 14 to Mot. for Summ. J. on T.

LaCroix’s Claims Against Individual Defs. (Dkt. No. 327-16) (hereby incorporated by reference)

at INDEF02000. When given the opportunity to cross-examine Plaintiff LaCroix after her

testimony, the State declined to ask her any questions. Id. at INDEF02001.

        In October 2017, Plaintiffs—including Tiffany LaCroix—filed this lawsuit, including

claims against Defendant Rodrigue for sending the fake subpoena. Defendant Rodrigue and other

prosecutors sued in their individual capacities moved to dismiss, arguing, among other things, that

they could not be held liable for using fake subpoena because they were shielded by absolute

immunity. Defs.’ Jt. Mot. to Dismiss (Dkt. No. 363).

        Based on Plaintiffs’ allegations, this Court held that absolute immunity did not apply to

prosecutors’ use of fake subpoenas. Order & Reasons (“MTD Op.”) (Dkt. No. 116) at 10–14.

Defendants appealed to the Fifth Circuit Court of Appeals, arguing that this Court’s ruling was

contrary to precedent. The Fifth Circuit affirmed this Court’s ruling. In doing so, it adopted both

this court’s reasoning and added other grounds for denying immunity.

                                    STANDARD OF REVIEW

        A motion for summary judgment should be granted if the record, taken as a whole, “shows

that there is no genuine dispute as to any material fact and the movant is entitled to judgment as a

matter of law.” FED. R. CIV. P. 56(a); Celotex Corp. v. Catrett, 477 U.S. 317, 323–25 (1986);

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Kennett-Murray Corp. v. Bone, 622 F.2d 887, 892 (5th Cir. 1980). When ruling on a motion for

summary judgment, the Court is required to view all justifiable inferences drawn from the factual

record in the light most favorable to the nonmoving party. Matsushita Elec. Indus. Co. v. Zenith

Radio Corp., 475 U.S. 574, 587 (1986); Merritt-Campbell, Inc. v. RxP Products, Inc., 164 F.3d

957, 961 (5th Cir. 1999).

       This summary judgment motion concerns the application of absolute prosecutorial

immunity. Importantly, an “official seeking absolute immunity bears the burden of showing that

such immunity is justified for the function in question.” Singleton, 956 F.3d at 779 (quoting Burns

v. Reed, 500 U.S. 478, 486 (1991)).

                                         ARGUMENT

       Defendants have introduced nothing that distinguishes the allegations in the complaint—

which formed the basis of the Fifth Circuit’s opinion—from the evidence adduced to date. Instead,

as described below, the record evidence provides further support for the Fifth Circuit’s

conclusions. On the law, Defendants’ arguments are foreclosed by the Fifth Circuit’s opinion and

other binding precedent. Further still, Defendants ask this Court to make fact determinations that

are inconsistent with the record, and thus, at a minimum, inappropriate for summary judgment.

With no basis in the law or the record, Defendants’ arguments fail.

       I.      The Fifth Circuit Affirmed This Court’s Denial of Absolute Immunity

       Defendants contend that the Fifth Circuit affirmed this Court’s denial of absolute immunity

for the use of fake subpoenas on a single ground: that the alleged conduct was “investigative” in

nature. Mem. in Supp. of Mot. for Summ. J. on Claims Against L. Rodrigue on Grounds of

Immunity (“Defs.’ Br.”) (Dkt. No. 363-1) at 3. Defendants also contend that the Fifth Circuit

rejected this Court’s analysis in its opinion on Defendants’ motion to dismiss, which reasoned that

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the Individual Defendants were not entitled to absolute immunity because they had “side-stepped

the judicial process.” Id.; MTD Op. at 11 (internal quotation marks and citations omitted).

          None of this is true. In fact, the Fifth Circuit offered multiple grounds for affirming this

Court’s denial of absolute immunity—including the ground adopted by this Court, offering the

same reasoning and citing the same case law.

          As this Court did at the motion-to-dismiss stage, the Fifth Circuit relied on the functional

approach prescribed by the U.S. Supreme Court, which limits absolute immunity to actions “which

occur in the course of [the prosecutor’s] role as an advocate for the State.” Singleton, 956 F.3d at

779–80 (quoting Buckley v. Fitzsimmons, 509 U.S. 259, 273 (1993)); id. at 781–84 (applying

functional approach); see also MTD Op. at 8–14. Applying that framework, the court identified

“two reasons” that prosecutors’ actions were not “intimately associated with the judicial phase of

the criminal process” and thus not entitled to immunity. Singleton, 956 F.3d at 782 (quoting Hoog-

Watson v. Guadalupe Cty., 591 F.3d 431, 438 (5th Cir. 2009)).

          First, the Individual Defendants were not entitled to immunity because they “allegedly used

the subpoenas to gather information from crime victims and witnesses outside of court.” Singleton,

956 F.3d at 782. As the court explained, this “information-gathering is more analogous to

investigative police work than advocatory conduct,” and absolute immunity does not shield it. Id.

at 783.

          Second, prosecutors “allegedly intentionally avoided the judicial process that Louisiana

law requires for obtaining subpoenas.” Id. at 784 (citing LA. CODE CRIM. PROC. ANN. art. 66).

Prosecutors’ “creation and use of the fake subpoenas thus fell ‘outside the judicial process.’” Id.

As such, this conduct was not subject to immunity. Id.; accord MTD Op. at 11–12 (denying

immunity because prosecutors had allegedly “side-stepped the judicial process” by circumventing

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Article 66 and “issu[ing] subpoenas themselves”).4 To arrive at this conclusion, the court relied on

both Loupe, 824 F.3d 534, and Lacey v. Maricopa County, 693 F.3d 896 (9th Cir. 2012), the same

cases that undergirded this Court’s decision to deny immunity for prosecutors’ use of fake

subpoenas. See MTD Op. at 10–13.

       Finally, the court found that “[d]enying Individual Defendants dismissal based upon

absolute immunity for their creation and use of the fake subpoenas also accords with the policy

underlying absolute prosecutorial immunity.” Singleton, 956 F.3d at 784; see Hoog-Watson, 591

F.3d at 438 (noting that, “[t]o determine the scope of a prosecutor’s absolute immunity,” courts

must ask both “the practical function of the conduct at issue” and “whether, at present, absolute

immunity for the conduct at issue is necessary to advance the policy interests that justified common

law immunity.”).5 Because Plaintiffs are “victims and witnesses with no cases pending against

them,” denying absolute immunity here “will not deter prosecutors’ future decisions to charge

specific defendants.” Singleton, 956 F.3d at 784. And because prosecutors “issued the subpoenas

without court supervision, they operated free of ‘the checks and safeguards inherent in the judicial

process,’” which creates a “greater need for private actions to curb prosecutorial abuse and to




4
  See also MTD Op. at 12 (“To find that such ultra vires conduct is ‘intimately associated with the
judicial phase of the criminal process’ would give no meaning to the ‘judicial phase’ element of
the standard”) (quoting Loupe, 824 F.3d at 540).

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  See also Oral Arg., Singleton v. Cannizzaro, No. 19-30197, at 11:39–12:12 (5th Cir. Feb. 5,
2020),     available    at    https://www.courtlistener.com/audio/68493/renata-singleton-v-leon-
cannizzaro-jr-e/ (Judge Elrod noting, “We’ve been instructed and we’re supposed to consider not
only the practical function of the conduct, but secondly, whether at present absolute immunity for
the conduct at issue is necessary to advance the policy interests that justify the common law
immunity” and asking Defendants, “What case could you possibly cite that this would be necessary
to advance the policy interests to justify the common law immunity, given what the conduct at
issue here is?”).
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compensate for abuse that does occur.” Id. (quoting Marrero v. City of Hialeah, 625 F.2d 499, 509

(5th Cir. 1980)).

       II.     The Evidence Supports and Strengthens the Fifth Circuit’s Reasoning

       As Defendants emphasize, at the conclusion of its opinion affirming this Court’s denial of

immunity for prosecutors’ use of fake subpoenas, the Fifth Circuit noted that “further facts may

develop that support Individual Defendants’ defense.” Id. at 784. The opposite has occurred. The

record supports the allegations on which the Fifth Circuit relied, and Defendant Rodrigue’s

testimony plainly situates her conduct within the Fifth Circuit’s reasoning. Indeed, as described

below, the evidence substantiates each of the Fifth Circuit’s bases for finding immunity

inappropriate here.

               A.      Absolute Immunity Does Not Apply Because Defendant Rodrigue’s
                       Conduct Was Investigative, Not Prosecutorial
       As the Fifth Circuit explained, absolute immunity does not apply when prosecutors perform

“investigatory functions.” Singleton, 956 F.3d at 779–80 (quoting Buckley, 509 U.S. at 273). As

such, prosecutors are not shielded from liability for using fake subpoenas if they did so to “gather

information from crime victims and witnesses outside of court.” Singleton, 956 F.3d at 782.

       Defendant Rodrigue has now confirmed that she sent Plaintiff Tiffany LaCroix a fake

subpoena demanding she meet with her at the District Attorney’s Office. See Ex. B to Decl. of S.

Brooks (Rodrigue Dep.) (Dkt. No. 326-5) at 65:4–67:25; id. at 70:2-18. And she has testified that

the reason she did so was to gather information from Plaintiff LaCroix:

       Q. And why was Ms. LaCroix requested through this fake subpoena to appear there
       at the District Attorney’s Office?

       A: [. . .] Through [Ms. LaCroix’s] interview with Sports Illustrated, we learned that
       the defendant in the case, his first phone call was made to her on the scene of the
       crime after he had shot the victim. So at that time we did not know whether she had
       information relevant to the case. She had never told anybody that, the police or

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       anybody else for that matter. So we were hoping to have her speak with us the same
       way she had spoken with the media outlets just to see what the information was.
       Really just to make sure there was no—no stone left unturned in preparation for the
       trial.

Id. at 70:19–71:16 (emphasis added).

       This conduct is plainly investigative. The Fifth Circuit held that prosecutors were not

entitled to immunity for using fake subpoenas to “gather information.” Singleton, 956 F.3d at 782.

And by her own account, this is precisely what Defendant Rodrigue did. See Ex. 1 (Pl. Second

RSUF) Resp. to Nos. 7, 10. Indeed, Defendant Rodrigue testified that she sent the fake subpoena

because she did not know what information Plaintiff LaCroix had or whether it was relevant to the

case. See Ex. B to Decl. of S. Brooks (Rodrigue Dep.) (Dkt. No. 326-5) at 70:19–71:16; see also

id. at 80:17-22 (explaining that, because her efforts to secure an interview with Plaintiff LaCroix

had failed, Defendant Rodrigue and the rest of the prosecution team would “find out at the moment

[Plaintiff LaCroix] testified what information she had if she became a witness”); St. of Uncontested

Facts in Supp. of Mot. for Summ. J. on T. LaCroix’s Claims Against Individual Defs. (“Defs.’

First SUF”) (Dkt. No. 327-2) No. 5 (“Ms. Rodrigue hoped to speak with Ms. LaCroix before trial

to ascertain what Ms. LaCroix’s testimony might be . . . .”) (emphasis added).

       Moreover, Defendant Rodrigue testified that she sent the fake subpoena to Plaintiff

LaCroix to find out information that the police had not. See Ex. B to Decl. of S. Brooks (Rodrigue

Dep.) (Dkt. No. 326-5) at 71:9-11 (“[Plaintiff LaCroix] had never told anybody [about the phone

call], the police or anybody else for that matter.”). Thus, in a very direct sense, “[her] information-

gathering [wa]s more analogous to investigative police work than advocatory conduct.” Singleton,

956 F.3d at 783. Further still, the authority the fake subpoena purported to invoke—that of Article

66—explicitly involves investigation, not witness preparation. See LA. CODE CRIM. PROC. ANN.



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art. 66 (allowing courts to order a witness to submit to questioning by a prosecutor “concerning

any offense under investigation by him”) (emphasis added).

       Nevertheless, Defendants claim that Defendant Rodrigue has so plainly met her burden to

show that absolute immunity shields her conduct that she is entitled to summary judgment. To do

so, Defendants misinterpret governing case law, ignore the evidence in the record, and rehash

arguments that the Fifth Circuit has already rejected. These efforts fail.

       First, Defendants claim—contrary to the Fifth Circuit’s opinion and Supreme Court

precedent—that a prosecutor can be entitled to immunity even when she is “search[ing] for

information.” Defs.’ Br. at 4; but see Singleton, 956 F. 3d at 782–83 (“Defendants’ use of the fake

subpoenas in an attempt to obtain information from crime victims and witnesses . . . falls into the

category of investigative conduct for which prosecutors are not immune.”).

       To support this argument, Defendants misportray precedent. For instance, Defendants

claim that in Buckley v. Fitzsimmons, the Supreme Court “made clear that ‘interviewing

witnesses’” was a prosecutorial function. Defs.’ Br. at 4 (quoting Buckley, 509 U.S. at 273). That

is not what Buckley says. Instead, it distinguished between interviewing witnesses in preparation

for trial—which could be prosecutorial—and “searching for [] clues and corroboration,” which is

not. 509 U.S. at 273.6




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  Defendants also suggest that Imbler v. Pachtman, 424 U.S. 409 (1976), supports their position
that gathering evidence is not an “investigative function” so long as it is tethered to preparation for
trial. See Defs.’ Br. at 5. Imbler does not say that, and the Fifth Circuit has already rejected
Defendants’ efforts to apply it here. See Singleton, 956 F. 3d at 783 (finding Imbler distinguishable
because it involved efforts to control a witness’s testimony during a break in trial, not out-of-court
meetings to learn information). Moreover, the Supreme Court has repeatedly cautioned that
prosecutors cannot avoid immunity by describing their conduct as trial preparation.

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       Moreover—although Defendants present it as new information—the Fifth Circuit already

knew that Defendant Rodrigue used the fake subpoena in connection with a case because Plaintiffs

pled this fact in the complaint. See Singleton, 956 F.3d at 778 (stating that Plaintiff Tiffany LaCroix

was a “potential witness” in a murder case who “received a fraudulent subpoena demanding a

private meeting at the Office prior to trial.”); id. at 782 n.5 (recognizing that Plaintiff LaCroix was

given a fake subpoena “while [the] related criminal case[] w[as] pending”). Regardless, the Fifth

Circuit rejected Defendants’ efforts to recast prosecutors’ use of fake subpoenas as mere trial

preparation. The court explained,

       [Defendants] allegedly used fake subpoenas in an attempt to pressure crime victims
       and witnesses to meet with them privately at the Office and share information
       outside of court. Defendants never used the fake subpoenas to compel victims or
       witnesses to testify at trial. Such allegations are of investigative behavior that was
       not ‘intimately associated with the judicial phase of the criminal process.’

Id. at 783 (quoting Imbler, 424 U.S. at 430).

       This conclusion aligns with Supreme Court precedent. As the Court cautioned in Buckley,

“A prosecutor may not shield his investigative work with the aegis of absolute immunity merely

because . . . that work may be retrospectively described as ‘preparation’ for a possible trial.” 509

U.S. at 276; see also Burns, 500 U.S. at 495 (“Almost any action by a prosecutor, including his or

her direct participation in purely investigative activity, could be said to be in some way related to

the ultimate decision whether to prosecute, but we have never indicated that absolute immunity is

that expansive.”); Singleton, 956 F.3d at 782 (quoting Buckley and Burns for same); accord MTD

Op. at 12–13 (concluding, pursuant to Burns, “[T]hat the alleged activity by the Individual

Defendant took place as a means to a prosecutorial end is not dispositive of the issue. Under that

logic, virtually all activity engaged in by a prosecutor would be absolutely immune from civil




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liability. The U.S. Supreme Court has rejected expanding prosecutorial absolute immunity so

broadly . . . .”).7

        Nor do the Fifth Circuit cases Defendants cite support their view. Defendants principally

rely on Cook v. Houston Post, 616 F.2d 791 (5th Cir. 1980). As an initial matter, Cook was decided

before the Supreme Court decided Buckley v. Fitzsimmons, 509 U.S. 259 (1993), and Burns v.

Reed, 500 U.S. 478 (1991), which clarified the meaning of “investigative” conduct not subject to

immunity. See Singleton, 956 F. 3d at 779–80, 782–73 (relying on Burns and Buckley to define

investigative conduct). Regardless, Cook is inapplicable: unlike in this case, the conduct at issue

concerned “interview[ing] witnesses before presenting their testimony to the Grand Jury”—not

seeking “information” from a witness who whose testimony was never presented at all. Cook, 616

F.2d at 793; 8 Ex. B to Decl. of S. Brooks (Rodrigue Dep.) (Dkt. No. 326-5) at 70:19–71:16.

        Defendant also rely on Cousin v. Small, 325 F.3d 627 (5th Cir. 2003), contending it

supports their view that witness interviews are prosecutorial so long as their purpose is to secure

information for trial. Defs.’ Br. at 5–6. But the Fifth Circuit has already found that Cousin does

not apply where the fake subpoenas were not used to secure testimony for any judicial proceeding.

Singleton, 956 F.3d at 782 n.5 (“[B]ased upon the allegations before us, the fake subpoenas were

never used to secure [Plaintiffs’] attendance or testimony in any judicial proceeding. Thus, their


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  Accord Simon v. City of New York, 727 F.3d 167, 173 (2d Cir. 2013) (“The prosecutorial function
may encompass questioning a witness for a brief period before presentation to determine whether,
in the prosecutor’s judgment, the witness’s testimony should still be pursued or whether the
witness should be released without further action. Based on Simon’s testimony, however, a
reasonable jury could find that the . . . interrogation went beyond what could reasonably be
construed as clarifying Simon’s status or ‘preparing her for a grand jury appearance, and became
an investigative interview.”).
8
 Notably, the Cook opinion does not explain precisely what conduct by the prosecutor plaintiffs
challenged.

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situations are not governed by Cousin, in which the defendant prosecutor told a witness to falsely

implicate a suspect and practiced with him on how to testify at trial while the trial was pending.”);

see also id. (explaining that, in contrast to this case, the prosecutor’s actions in Cousin occurred

“during a pending trial and were designed to shape a witness’s testimony at that trial”).9

       Defendants’ argument suffers another evidentiary defect as well: the record does not

establish that Defendant Rodrigue ever planned to call Plaintiff LaCroix as a witness. See Ex. 1

(Pl. Second RSUF) Resp. to No. 8.10 The State did not call Plaintiff LaCroix as a witness at trial,

and Defendant Rodrigue did not testify that she or anyone else on the prosecution team ever

intended to do so. See id. Further, when the defense called Plaintiff LaCroix at sentencing,


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  Defendants also cite several out-of-circuit cases, all of which predate the Fifth Circuit’s opinion
in this case, and none of which supports their view. Defs.’ Br. at 6–7. As an initial matter, all of
these cases are distinguishable because none of them involved out-of-court interviews conducted
to gather information from a witness (despite Defendants’ efforts to portray them as such). See
Mullinax v. McElhenney, 817 F.2d 711, 715 (11th Cir. 1987) (addressing the prosecutor’s act of
“[o]ffering a witness immunity in exchange for his testimony”); Broadnicki v. Omaha, 75 F.3d
1261, 1268 (8th Cir. 1996) (addressing witness interviews conducted as “preparation for [a]
revocation hearing” or to “evaluat[e] the reliability of the witnesses”). Defendants particularly
misportray Rogers, claiming that the Eighth Circuit found the prosecutor immune even for an
interview that had an “investigatory purpose.” Defs.’ Br. at 6 (quoting Rogers v. O’Donnell, 737
F.3d 1026, 1032 (6th Cir. 2013)). But there, although the district court found that the interview
had an “investigatory purpose,” the Eighth Circuit concluded that it did not. 737 F.3d at 1031
(“The district court viewed this as indicating an “investigatory” purpose . . . . In our view, the
record conclusively demonstrates that Smith was not acting simply in an investigative or
administrative capacity when making these inquiries.”). Instead, its purpose was “evaluating
evidence and preparing a victim witness for upcoming grand jury proceedings,” which immunity
does protect. Id. at 1032. With respect to Girardo v. Kessler, 694 F.3d 161, 167 (2d Cir. 2012), the
Court was addressing a prosecutor’s interview of a witness to “weigh[] . . . the credibility” of her
story, not to gather information. But Defendants also fail to note that, in more analogous
circumstances, the Second Circuit later concluded that a prosecutor’s out-of-court interview of a
witness was investigative and not entitled to immunity. See Simon v. City of New York, 727 F.3d
167, 173 (2d Cir. 2013); see also Singleton, 956 F.3d at 782–83 (quoting Simon with approval).
10
  Singleton, 956 F. 3d at 782 n. 5 (noting, in support of its conclusion that Defendants’ conduct
was investigative, that prosecutors never “sought to use . . . LaCroix’s testimony at trial” and
“never called . . . LaCroix to testify”).

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Defendant Rodrigue declined to ask her any questions. See id. This makes sense; as Defendant

Rodrigue repeatedly explained, she did not know what information Plaintiff LaCroix knew. See

id. Resp. to Nos. 7, 10. Thus, Defendants’ argument not only distorts the law, it asks the Court to

infer from the record that Plaintiff LaCroix was a potential prosecution witness—contrary to both

the evidence and the summary-judgment standard. See Matsushita Elec. Indus. Co., 475 U.S. at

587 (requiring courts at summary judgment to view all justifiable inferences in favor of the non-

moving party); see also Singleton, 956 F. 3d at 782 n.5 (finding support for the conclusion that

prosecutors’ conduct was investigative since “prosecutors withdrew the fake subpoenas and never

called . . . LaCroix to testify”).

        Defendants also urge this Court—contrary to precedent—to find that immunity applies

because Plaintiff LaCroix was a witness in a case that had already been indicted. See Defs.’ Br. at

2–9. The Fifth Circuit rejected this argument.11 It explained, “The Supreme Court has never held

that the timing of a prosecutor's actions controls whether the prosecutor has absolute immunity.

Instead, the Court focuses on the function the prosecutor was performing.” Singleton, 956 F.3d at

783–84.12 Here, where Defendants used fake subpoenas “in an attempt to obtain information from

crime victims and witnesses outside the judicial context,” that function was “investigative conduct

for which prosecutors are not immune.” Id. at 783–84.




11
   As described above, the fact that the fake subpoena related to a pending trial is not new
information: the Fifth Circuit knew this when it affirmed this Court’s denial of immunity. See
supra Sec. I; Sec. Am. Compl. (Dkt. No. 52) ¶¶ 10, 304, 319.
12
   See also Singleton, 956 F.3d at 780 (“Importantly . . . ‘a determination of probable cause does
not guarantee a prosecutor absolute immunity from liability for all actions taken afterwards. Even
after that determination, . . . a prosecutor may engage in ‘police investigative work’ that is entitled
to only qualified immunity.”) (quoting Buckley, 509 U.S. at 274. n.5).

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          In sum, Defendant Rodrigue umambiguously testified that she sent a fake subpoena to

Plaintiff LaCroix demanding an out-of-court interview so that she could find out what Plaintiff

LaCroix knew. See Ex. 1 (Pl. Second RSUF) Resp. to Nos. 7, 10. She cannot avoid liability by

rewriting precedent or recasting her conduct as mere witness preparation—particularly since the

prosecution did not, in fact, call Tiffany LaCroix to testify at trial. See id. Resp. to No. 8.

          At minimum, however, whether Defendant Rodrigue’s purpose was investigative or

prosecutorial is a fact question for the jury. See Simon, 727 F.3d at 174 (confirming that a jury

could assess whether the prosecutor was acting in an investigative capacity when he interviewed

a witness at his office). At the summary judgment stage, Defendants fall far short of their burden

to establish that immunity applies. Burns, 500 U.S. at 486.

                 B.      Absolute Immunity Must Also Be Denied Because The Evidence In
                         This Case Demonstrates That Defendants’ Use of Fake Subpoenas
                         Intentionally Avoided the Judicial Process
          Defendants do not engage with the Fifth Circuit’s second application of the functional

approach. However, it too, is fatal to Defendants’ motion.13 Just as this Court did in its opinion on

Defendants’ motions to dismiss, the Fifth Circuit found that prosecutors were not entitled to

immunity for using fake subpoenas because they acted outside of the judicial process. See supra

Sec. I.

          Puzzlingly, Defendants claim that the Fifth Circuit rejected this Court’s reasoning on this

score. This is fanciful. It relied on both the same reasoning and the same cases. See id. Other than




13
   These arguments are now waived. Knudsen v. Bd. of Supervisors of Univ. of La. Sys., No. 14-
382, 2015 WL 1757695, at *1 (E.D. La. Apr. 16, 2015) (“A party’s failure to brief an argument in
response to a summary judgment motion waives that argument.”).

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this, Defendants make no effort to claim that the evidence alters the Fifth Circuit’s conclusion on

this ground.14

       Regardless, the evidence now demonstrates its applicability here. Defendant Rodrigue has

testified that she knew the “subpoena” she sent to Plaintiff LaCroix had no legal force. Ex. A

(excerpts from Sept. 25, 2020 Dep. of L. Rodrigue) (“Rodrigue Dep.”) at 94:20–95:1, 98:1-10; see

also Defs.’ First SUF (Dkt. No. 327-2) Nos. 7–9; Ex. B to Decl. of S. Brooks (Rodrigue Dep.)

(Dkt. No. 326-5) at 67:1-6. Indeed, she testified that when Ms. LaCroix’s attorney moved to quash

it, she withdrew it for that very reason. Ex. A (Rodrigue Dep.) at 98:1-10. And when asked why

she didn’t “simply send [Plaintiff LaCroix] a letter on DA letterhead versus a fictitious, made-up

document,” Defendant Rodrigue explained that the fake subpoena was a more expeditious way of

getting the information that she wanted. See id. at 83:12 (testifying that a letter would not have

arrived quickly enough to satisfy her “obligations” to “make sure we have all the evidence that’s

relevant”); see also id. at 84:1-13 (explaining that she did not have an investigator visit Plaintiff

LaCroix because “we sort of know at that point this witness is not cooperative”).

                 C.    Denial of Absolute Immunity Accords With the Policy Rationales
                       Underlying the Doctrine
       The Fifth Circuit also found that denying absolute immunity for prosecutors’ creation and

use of the fake subpoenas “accords with the policy underlying absolute prosecutorial immunity.”

Singleton, 956 F.3d at 784; see supra Sec. I. This is true, it explained, because the Plaintiffs are



14
   Defendants suggest in passing that the conclusion that prosecutors side-stepped the judicial
process by using fake subpoenas was somehow different from the functional approach set forth by
the Supreme Court. See Defs.’ Br. at 4. This makes no sense. The functional approach asks whether
the conduct in question fell within the “prosecutorial function,” and when a prosecutor subsumes
the role of a judge, she is not acting within that function. Regardless, however Defendants
characterize it, the Fifth Circuit clearly adopted this rationale as a grounds for affirmance.
Singleton, 956 F.3d at 784.

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victims and witnesses, not criminal defendants; thus, denying immunity here will not deter

prosecutors’ future charging decisions. Id. This record supports this rationale; Plaintiff LaCroix

was a witness with no charges pending against her. See Ex. 1 (Pl. Second RSUF) Resp. to No. 11.

       In addition, “because Individual Defendants issued the subpoenas without court

supervision, they operated free of ‘the checks and safeguards inherent in the judicial process.’ As

a result, ‘there is greater need for private actions to curb prosecutorial abuse and to compensate

for abuse that does occur.’” Singleton, 956 F.3d at 784 (quoting Marrero, 625 F.2d at 509).

Defendant Rodrigue admits that she acted without court supervision. See Defs.’ First SUF (Dkt.

No. 327-2) Nos. 7–9. Defendants do not and cannot contend otherwise.

                                        CONCLUSION

       Based on the evidence in the record, Defendant Rodrigue’s conduct falls squarely within

the grounds for the Fifth Circuit’s opinion. However, even if some question remains as to whether

her conduct was prosecutorial, this determination would turn on factual questions that are

appropriate for a jury. See, e.g., Simon, 727 F.3d at 174. For now, Defendants cannot satisfy their

burden to show that immunity should apply—much less that there is no genuine dispute otherwise.

See Burns, 500 U.S. at 486; Celotex, 477 U.S. at 323–25. Defendants’ motion should be denied.


Dated: April 27, 2021                                Respectfully Submitted,

                                                     s/ Katie Chamblee-Ryan




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                              CERTIFICATE OF SERVICE

        I certify that on April 27, 2021, I electronically filed the foregoing Memorandum in
Opposition to Defendant Laura Rodrigue’s Motion for Summary Judgment on Grounds of
Immunity using the CM-ECF System, which caused notice to be sent to via email to all counsel
of record.


                                                  s/ Katie Chamblee-Ryan




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